           Case 1:16-vv-01525-UNJ Document 29 Filed 12/08/17 Page 1 of 2




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1525V
                                      Filed: April 11, 2017
                                         UNPUBLISHED

****************************
ARIADNA NACIANCENO,                       *
                                          *
                     Petitioner,          *     Ruling on Entitlement; Concession;
v.                                        *     Influenza;
                                          *     Shoulder Injury; SIRVA;
SECRETARY OF HEALTH                       *     Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                       *
                                          *
                     Respondent.          *
                                          *
****************************
C. Clark Hodgson, III, Muller Brazil, LLP, Dresher, PA, for petitioner.
Ilene Claire Albala, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

Dorsey, Chief Special Master:

       On November 16, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered an injury to her left shoulder as a
result of an influenza vaccine administered on October 10, 2015. Petition at 1. The
case was assigned to the Special Processing Unit of the Office of Special Masters.

       On April 11, 2017, respondent filed his combined Rule 4(c) Report and Proffer on
Damages in which he concedes that petitioner is entitled to compensation in this case.
Respondent’s Rule 4(c) Report at 1. Specifically, respondent “believes that petitioner’s
alleged injury is consistent with a shoulder injury related to vaccine administration
(“SIRVA”).” Id. at 3. Respondent further agrees that petitioner suffered her condition for
more than six months and has satisfied all legal prerequisites for compensation under
the Vaccine Act. Id.

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
       Case 1:16-vv-01525-UNJ Document 29 Filed 12/08/17 Page 2 of 2




     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                              s/Nora Beth Dorsey
                              Nora Beth Dorsey
                              Chief Special Master




                                       2
